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                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         MAR 8 2022
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
META PLATFORMS, INC., a Delaware                No.    21-15875
corporation; et al.,
                                                D.C. No. 2:20-cv-00470-GMS
                Plaintiffs-Appellees,           District of Arizona,
                                                Phoenix
 v.
                                                ORDER
WHOISGUARD, INC., a Republic of
Panama corporation,

                Defendant-Appellant,

and

NAMECHEAP, INC., a Delaware
corporation,

                Defendant.

Before: HAWKINS, PAEZ, and WATFORD, Circuit Judges.

      The parties’ stipulated motion to voluntarily dismiss this appeal pursuant to

Federal Rule of Appellate Procedure 42(b) is GRANTED.

      The parties shall bear their own fees and costs on appeal.

      This order shall act as and for the mandate of this court.

      DISMISSED.
